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Pro Se 3 (Rev. 12/16) The Defendant’s Answer to the Complaint

for the

Southern District of Texas

Houston_ Division

ANGEL FLORES, CESAR HERNANDEZ, DEBORAH
R|VERA, LAURA LOZOYA and SALLY A MART|NEZ

|ndividua||y and On Beha|f of A|l Others Simi|ar|y

v ,,,,,, ,,,, , , ,, ,,,A§jtuate_,c!, , .
Plaintijf(s)
(Wi'ite the full name of each plaintijf who is filing this complaint
If the names of all the plaintiffs cannot fit in the space above,
please write "see attached ” in the space and attach an additional
page with the full list of names )

..v-

JBM JAN|TOR|AL MA|NTENANCE, |NC. KRC
FLOOR MA|NTENANCE, |NC.VlR|D|ANA GARC|A

A/K/AVlR|D|ANA MART|NE RAF E V.
l\/lARTlNl=z alf£/él/¢f/a¢¢' z.

Defendant(s)
(Write the full name of each defendant who is being sued. lf the
names of all the defendants cannot fit in the space above, please
write “see attached " in the space and attach an additional page
with the full list of names. )

Case No.

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United States Courts
Southern District of F.~).fa=

UNITED STATES DISTRICT CoURT F'LED

MAY 24 2018

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4:18-CV-01263

 

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Jury Tl'lalf (check one) Y€S ENO

THE DEFENDANT’S ANSWER TO THE COMPLAINT

I. The Parties Filing This Answer to the Complaint

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m Co::rt

Provide the information below for each defendant filing this answer or other response to the allegations in the
plaintiffs complaint Attach additional pages if needed

Name

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

II. The Answer and Defenses to the Complaint
A. Answering the Claims for Relief

Ceci| Martinez

 

7002 Hi||sboro St.

 

Houston
Texas 77020
ce||:832-262-5043

 

 

On a separate page or pages, write a short and plain statement of the answer to the allegations in the
complaint. Number the paragraphs The answer should correspond to each paragraph in the complaint,
with paragraph l of the answer corresponding to paragraph 1 of the complaint, etc. For each paragraph
in the complaint, state whether: the defendant admits the allegations in that paragraph; denies the
allegations; lacks sufficient knowledge to admit or deny the allegations; or admits certain allegations
but denies, or lacks sufficient knowledge to admit or deny, the rest.

Page l of if

 

 

 

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1. ANSWER

COMES NOW defendant CECIL M. MARTINEZ in the above-captioned cause
of action and answers the Complaint of Plaintiff by generally denying all of the
allegations in the Complaint, except as may be specifically admitted or deny bellow
referring to paragraphs and/or Sections as numbered by Plaintiffs Complain and
pertaining to the Defendant (referred from here forward as “C. Martinez”).

Nature of Suit
Defendant (C. Martinez) is without sufficient knowledge to either admit or deny
the allegations contained therein and therefore denies same and leaves Plaintiff to its
proof.

Jurisdiction & Venue
Defendant (C. Martinez) admits he resides in the Houston Division of the
Southem District of Texas. Defendant is without sufficient knowledge to either admit
or deny the allegations contained therein and therefore denies same and leaves
Plaintiff to its proof.

Parties

Defendant (C. Martinez) is without sufficient knowledge to either admit or deny
the allegations contained therein and therefore denies same and leaves Plaintiff to its
proof.

Facts

Defendant (C. Martinez) denies any liability incurred from JBM. Defendant was a
contractor his title was Contract Supervisor. Defendant’s duties were to obtain contracts,
and check if awarded money was accurate for the job. Defendant C. Martinez did not
made decisions With operations because Defendant Was sick most of the time. Defendant
C. Martinez is diabetic, with heart, gull bladder, kidney and liver problems Early 2016
Defendant C. Martinez was diagnosed with a rare pancreatic cancer, for which he has
been receiving treatment since then. Defendant C. Martinez was then diagnose on 2017
with a second cancer, liver cancer which by the time it was diagnosed, it had spread into
the colon. Defendant C. Martinez has been in and out of the hospitals for complications
has had operations to place stents in his heart. He has also been in and out labs and
doctors visit. Defendant C. Martinez Was hardly in the JBM office. Regarding the

 

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Defendant C. Martinez Page 2

 

 

 

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remainder of the allegations, defendant is without sufficient knowledge to either admit or
deny the allegations contained therein and therefore denies same and leaves Plaintiff to
its proof.

Count One-Failure to pay the Minimum Wagg

 

Defendant (C. MARTINEZ) is without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

Count Two- failure to pay Overtime

Defendant (C. MARTINEZ) is Without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

Count Three- Failure to Maintain Accurate Records

Defendant (C. MARTINEZ) is Without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

.Count Four-Collective Action Allegations

Defendant (C. MARTINEZ) is Without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

Jury by Trail

Defendant (C. MARTINEZ) is without sufficient knowledge to either admit or deny the
allegations contained therein and therefore denies same and leaves Plaintiff to its proof.

 

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Defendant C. Martinez Page 3

 

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Prayer

Having completed the Answer to the complaint, Defendant (C. MARTINEZ) is Without
sufficient knowledge to either admit or deny the allegations contained therein and
therefore denies same and leaves Plaintiff to its proof.

WHEREFORE, Defendant prays for relief as follows:

1. The complaint against Defendant be dismissed

2. l ask for court cost.

3. I ask for such other and further relief, at law or in equity, to which I may be justly
entitled.

I, Cecil Martinez hereby attest that the herein answers are true and correct to best of my
knowledge

Party without an Attorney

l agree to provide the prospective agencies with any changes to my address where case-
related papers may be served. I understand that my failure to provide to keep a current
address on file with the prospective offices may result in the dismissal of my case.

Date of signingé&§izé§>
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Signature of Defendant {?/""/// WW
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Pn`nted Name of Defendant MMM¢WZ

 

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Defendant C. Martinez Page 4

 

 

 

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Certificate of Service

| certify that a copy of this document was delivered to the Plaintiff’s lawyer or the Plaintiff (if the
Plaintiff does not have a |awyer) on the same day this document Was filed with (turned in to) the
Court as follows: (Check one.)

ij through the electronic file manager if this document is being filed electronically
[:l by certified mail, return receipt requested

l:l by fax, to tax #
w by personal delivery

 

l:] by email to this email address:

twig;‘:lji/gnamrre%J w 'Da§%.i?[é‘o/y*

 

 

